Case 2:05-cr-20233-SH|\/| Document 5 Filed 06/24/05 Page 1 of 2 Page|D 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20233-Ml

ROOSEVELT HENDERSON

 

ORDER OF TEMPORARY DETENTION
PENDING I-IEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set For
FRIDAY, JUNE 24, 2005 at 4:00 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: June 23,2005 /--_
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s. THOMAS ANDERSON `
UNITED sTArEs MAGrsrRAra JUDGE

 

‘If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1")(2).

A hearing is required Whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) Will flee or (b) Will obstruct or attempt to obstructj ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (SIES) Order of Temporary Delention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20233 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

David Pritchard

U.S. ATTORNEY'S OFFICE
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Honorable J on l\/lcCalla
US DISTRICT COURT

